Case 4:04-cr-00018-HTW-LRA   Document 141   Filed 02/10/06   Page 1 of 6
Case 4:04-cr-00018-HTW-LRA   Document 141   Filed 02/10/06   Page 2 of 6
Case 4:04-cr-00018-HTW-LRA   Document 141   Filed 02/10/06   Page 3 of 6
Case 4:04-cr-00018-HTW-LRA   Document 141   Filed 02/10/06   Page 4 of 6
Case 4:04-cr-00018-HTW-LRA   Document 141   Filed 02/10/06   Page 5 of 6
Case 4:04-cr-00018-HTW-LRA   Document 141   Filed 02/10/06   Page 6 of 6
